     Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 1 of 34




            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                       Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.

CURLING PLAINTIFFS’ RESPONSE TO STATE DEFENDANTS’ BRIEF
 REGARDING LAW ENFORCEMENT INVESTIGATIVE PRIVILEGE
          Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 2 of 34




                                       TABLE OF CONTENTS


I.        Background ...................................................................................................2

II.       Argument.....................................................................................................11

     A.   State Defendants fail to establish an ongoing investigation—all
          evidence refutes their unsubstantiated claim ..............................................11

     B.   State Defendants have not met their high burden to establish the
          additional requirements to invoke the investigative privilege ....................14

     C.   Plaintiffs’ (and the public’s) strong interest in the discovery
          sought far outweighs any alleged harm to State Defendants ......................18

III.      Conclusion...................................................................................................25




                                                           i
          Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 3 of 34




                                     TABLE OF AUTHORITIES

Cases
Black Voters Matter Fund v. Raffensperger,
  478 F. Supp. 3d 1278 (N.D. Ga. 2020), aff’d sub nom. Black Voters
  Matter Fund v. Sec’y of State for Ga., 11 F.4th 1227 (11th Cir. 2021) ........ 13, 15

In re City of N.Y.,
  607 F.3d 923 (2d Cir. 2010) .................................................................................16

In re Polypropylene Carpet Antitrust Litig.,
  181 F.R.D. 680 (N.D. Ga. 1998) ............................................................. 11, 14, 19

JTR Enters., LLC v. An Unknown Quantity of Colombian Emeralds,
  297 F.R.D. 522 (S.D. Fla. 2013) ................................................................... 11, 14

Navarro v. Applebee’s Int’l, Inc.,
 2010 WL 3745905 (M.D. Ga. Sept. 20, 2010) .............................................. 14, 17

White v. City of Fort Lauderdale,
 2009 WL 1298353 (S.D. Fla. May 8, 2009).........................................................18

Rules
Fed. R. Civ. P. 26(b)(5)............................................................................................17

Ga. Comp. R. & Regs. r. 183-1-12-.05(3) .................................................................6

Ga. Comp. R. & Regs. r. 183-1-12-.05(5) .......................................................... 6, 15




                                                          ii
       Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 4 of 34




      State Defendants assert a sweeping law enforcement investigative privilege

to withhold all information about a reported breach of Coffee County’s EMS

server and possibly other voting equipment in January 2021. This is improper.

They fall far short of their high burden to prove up the privilege. The Court should

order the discovery sought, to be completed promptly by a specific deadline.

      First, the privilege turns entirely on State Defendants’ unsubstantiated claim

of an “ongoing investigation” into that breach. But they’ve provided no evidence

of any law enforcement investigation having occurred at all, much less ongoing.

State Defendants simply ignore Gabriel Sterling’s unambiguous statement from

April 2022 that whatever investigation was conducted reached its conclusion

months ago. And newly-obtained evidence from Coffee County—which State

Defendants did not disclose—confirms there has been no investigation. Second,

they provide no evidence required to invoke the investigative privilege, including

sworn testimony from the appropriate department head. Third, their privilege log

is vague and conclusory. Fourth, the privilege does not protect the facts of what

occurred, including the lack of a real investigation. Fifth, Plaintiffs’ need for the

discovery (and the public interest) greatly outweighs the privilege asserted.

      All indications are that—much like State Defendants’ false claims of a

“unique” and “confidential” GEMS database—their “ongoing investigation” claim

                                           1
         Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 5 of 34




is a ruse to avoid revealing that this extraordinary breach occurred and that a real

investigation has not.1 They identified no such investigation in discovery, and

reportedly nobody involved has heard from any Georgia investigator. Further, that

State Defendants could identify, per their privilege log, only a dozen documents in

total about the purported investigation confirms it isn’t real. Where are the

investigators’ emails, interview notes, and other typical law enforcement

investigative files? Who are these nameless law enforcement investigators, when

exactly did they start their investigation, and why is their investigation purportedly

still ongoing (after Mr. Sterling declared it over months ago, no less)?

        State Defendants undoubtedly want to avoid admitting they have not taken

the reported breach seriously. But that’s no basis to withhold highly relevant

information or to force Plaintiffs to incur the huge cost and burden of conducting

that investigation, as State Defendants argue. They’re required to provide any

information they have, including the lack of a meaningful investigation.

I.      BACKGROUND

        Until at least April 2021, the doors to the Coffee County elections office

were routinely left unlocked. (Ex. A at 130-31.) This included the doors to the

building, the Election Supervisor’s office, and the EMS server and ICC room.


1
    Compare Order, Dkt. 463 at 2-3, with Order, Dkt. 668 at 1-2.
                                          2
       Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 6 of 34




(Id.) And the password to the EMS server was posted for all to see on the

computer monitor in that office. (Id. at 82, 107-08, 151-52; Ex. B at -102 to -103.)

      Shortly after the 2020 Presidential election, the former Coffee County

Elections Supervisor, Misty Hampton, made a video that went viral on YouTube

claiming to show that Dominion’s voting equipment could be manipulated. (Ex. A

at 53; Ex. B.) Visible in the video was the 16-digit EMS server password stuck to

the computer monitor. (Ex. A at 82, 151-52; Ex. B.) Four months later, Ms.

Hampton’s replacement, James Barnes, arrived on his first day of work to find that

same post-it note still stuck to that same monitor. (Ex. A at 82, 107-08, 151-52.)

Neither State Defendants nor Coffee County had it removed in all that time. Mr.

Barnes was told that the EMS server still used that same password. (Id. at 107-08.)

      On or about January 7, 2021, Ms. Hampton reportedly allowed Scott Hall

and others associated with the “Stop the Steal” movement2 and Georgia’s “fake

electors”3 into the Coffee County election office. Ms. Hampton apparently hoped


2
  Emma Brown & Amy Gardner, Georgia county under scrutiny after claim of
post-election breach, Wash. Post (May 13, 2022),
https://www.washingtonpost.com/investigations/2022/05/13/coffee-county-misty-
hampton-election/.
3
  Megan Butler, Fake Georgia GOP electors challenge subpoenas in election
probe, Courthouse News Serv. (July 19, 2022),
https://www.courthousenews.com/fake-georgia-gop-electors-challenge-subpoenas-
in-election-probe/.
                                       3
       Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 7 of 34




they could show that the 2020 Presidential election “was not done true and

correct.”4 Mr. Hall flew to Coffee County with a five-person team led by Paul

Maggio, an executive at the computer forensics company Sullivan Strickler, to

scan ballots and image voting equipment.5 Mr. Maggio’s team spent several hours

at the Coffee County elections office.6 They reportedly “imaged every hard drive

of every piece of equipment” and scanned ballots.7 Coffee County and State

Defendants claim no documentation exists of this alleged breach of the voting

equipment. Mr. Barnes testified that the recordings from the surveillance cameras

in the office had been erased when he arrived in April 2021. (Ex. A at 167, 171.)

      In February 2021, Ms. Hampton and her assistant Jil Ridlehoover resigned,

allegedly for falsifying timesheets. (Id. at 79-80.) Mr. Barnes was told that none

of Ms. Hampton’s emails were preserved.8 (Id. at 41-42.) They supposedly were

wiped from every device she had access to. (Id. at 46.) Discovery in this case




4
  Brown & Gardner, supra note 2.
5
  Jose Pagliery, Texts Reveal GOP Mission to Breach Voting Machine in Georgia,
Daily Beast (June 5, 2022), https://www.thedailybeast.com/how-a-coffee-county-
gop-chair-coordinated-a-voting-machine-breach.
6
  Id.
7
  Brown & Gardner, supra note 2.
8
  Wesley Vickers, Coffee County manager, was surprised that Charles Dial, a
third-party contractor who provided IT services to Coffee County, deactivated Ms.
Hampton’s account and deleted her emails. (Ex. A at 48-49.)
                                         4
       Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 8 of 34




revealed that to be incorrect. Coffee County just this week admitted that, per

Plaintiffs’ subpoenas, it “has recently been able to recover the items on Misty

Hampton’s Coffee County issued phone” and aims to produce those to the parties.

No investigation (if any) had recovered those items before Plaintiffs’ subpoenas.

      Upon taking over as Coffee County Elections Supervisor on April 1, 2021,

Mr. Barnes discovered a business card from Doug Logan of Cyber Ninjas at the

base of Ms. Hampton’s former computer. (Id. at 157, 160; Ex. C.)

      In late April 2021, Mr. Barnes discovered that the EMS server password did

not work. (Ex. A at 106.) He thought this might be a security concern so he called

Priteck Patel in the Secretary of State’s Center for Elections (“CES”), who told Mr.

Barnes that he would come look at the EMS server the following week. (Id. at

106-09.) About a week later, Mr. Patel and someone named Chris arrived from

CES (Mr. Barnes could not recall Chris’s last name). (Id. at 109-10, 112.) They

tried the EMS server password written on the post-it, but it no longer worked. (Id.

at 109-10, 145.) Mr. Patel and Chris were surprised the password did not work

because only the state can change EMS server passwords. (Id. at 65, 110.) County

employees cannot. (Id.) That same day CES replaced the EMS server with one

Mr. Patel had brought with him. (Id. at 110-13.) Even though the ICC worked

fine, CES also replaced it. (Id. at 111-13.) The equipment was replaced out of a

                                         5
       Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 9 of 34




concern they might have been “compromised.” (Id. at 147-48.) Mr. Barnes never

heard from CES or anyone at the state again about this issue. (Id. at 115, 122-23.)

      Reportedly, no documentation exists for any of these critical, highly unusual

events, including Mr. Barnes’ report to CES that the EMS server no longer

worked, the CES visit to Coffee County, its seizure of that EMS server and the

ICC, or the concern that both may have been “compromised” through improper

access. (Id. at 118-21, 131-32, 134-36.) Mr. Barnes did not notify the Secretary of

State in advance of replacing the EMS server and ICC in writing of the reason for

the relocation of that equipment and installation of the new equipment, as Ga.

Comp. R. & Regs. r. 183-1-12-.05(3) requires. No log exists of CES entering the

EMS server room to replace the EMS server and ICC, as Rule 183-1-12-.05(5)

requires. The Secretary did not provide written authorization for the relocation, as

Rule 183-1-12-.05(3) requires. And somehow no emails, text messages, other

written communications, or phone logs exist regarding these unusual events.9

      In May 2021, around the same time the EMS server and ICC were replaced,

Mr. Barnes received an email from Dominion warning about third-party actors


9
  Mr. Barnes’ recollection that CES replaced the EMS server and ICC in late April
or perhaps early May 2021 conflicts with State Defendants’ claim that it occurred
on June 8, 2021—for which they provide no evidence except a standard hash test
report for some EMS server. (Dkt. 1377-4 at 3-4.)
                                         6
         Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 10 of 34




trying to get access to EMS servers, and it mentioned Cyber Ninjas. (Ex. A at

158.) Mr. Barnes remembered the Cyber Ninjas’ business card and, concerned that

the Coffee County voting equipment might have been “compromised” (id. at 160-

62), he emailed a copy of the card to Chris Harvey, Georgia’s former statewide

Elections Director (id. at 159). Mr. Harvey told Mr. Barnes to check whether

Cyber Ninjas contacted anyone in the Coffee County elections office and whether

Cyber Ninjas accessed any Coffee County elections equipment. (Id. at 163-64.)

Mr. Harvey indicated he would follow-up with Mr. Barnes. (Id. at 164.) Mr.

Harvey also contacted Frances Watson, the then-head of the Secretary’s

investigations unit, who directed one of her investigators to contact Coffee County

officials about the situation involving Cyber Ninjas.10 (Ex. C.)

        But Mr. Barnes never heard again from anyone at the state about Cyber

Ninjas. (Ex. A at 164-69.) No one from the state contacted Mr. Barnes’s assistant

or the Coffee County Board of Elections (id. at 166), and no one came to Coffee

County to look at the voting equipment or elections office to assess improper

access or otherwise (id. at 165-66). Mr. Barnes reportedly—and inexplicably—

never followed up with Mr. Harvey or anyone else at the state about his concerns.




10
     Brown & Gardner, supra note 2.
                                         7
      Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 11 of 34




      Despite Mr. Harvey’s and Mr. Barnes’s concerns of improper access to

voting equipment in Coffee County, the county continued to use the reportedly-

breached server and ICC until CES seized them. (Id. at 168.) And Coffee County

has continued to use all the other voting equipment that also may have been

breached, including BMDs, printers, scanners, computers, and removable media.

Mr. Barnes reported that the flash drives he used with the EMS server are from a

box he found in the Coffee County elections office containing some 30-40 flash

drives. (Id. at 194-95.) He assumed the state provided those because they looked

to be blank and they looked like the ones provided by the state—but he did not

confirm this; and nobody has tested them for any sort of compromise. (Id. at 195.)

      On April 7, 2022, State Defendants’ counsel represented that the “Secretary

of State opened an investigation” into the Coffee County breach (Dkt. 1374 at 21)

promptly after the February 24, 2022 deposition of Gabriel Sterling, the Secretary

of State’s Chief Operating Officer (Dkt. 1370-5 at 21:9-22). This was a stunning

claim given State Defendants also claim that that specific investigation is part of a

broader investigation11 into improper activities involving Ms. Hampton and the


11
  The SEB referred that investigation to the Attorney General—not the Secretary
of State—in December 2021. (Dkt. 1397-1 at 171-72.) The Secretary now claims
that case was somehow referred to his office in 2022 (Dkt. 1397 at 3), but he offers
no evidence of this, which would require SEB approval and some documentation.
                                         8
       Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 12 of 34




Coffee County elections office that was opened in December 2020: State Election

Board (“SEB”) Case No. 2020-250. (Dkt. 1427 at 5; Dkt. 1397 at 2.) Thus, State

Defendants remarkably claim that that broader investigation somehow did not turn

up—after more than a year—any indication that anyone possibly improperly

accessed Coffee County’s elections office and voting equipment.

      State Defendants’ counsel’s claims of an “ongoing investigation” into the

Coffee County breach not only lack any supporting evidence of any kind, they

directly contradict Mr. Sterling’s statements in his deposition (Dkt. 1370-5 at 21:9-

22) and publicly in April of 2022 that the Coffee County investigation had reached

its conclusion, which was—unequivocally—that the breach “didn’t happen.”12

      In May 2022, Ms. Hampton reported that no investigators had contacted her

about Mr. Hall’s claims regarding breaching Coffee County’s voting equipment.13

Her counsel just recently reiterated this.

      In June of 2022, Mr. Benjamin Cotton of CyFIR testified that he had

forensically examined Coffee County’s and Fulton County’s elections systems

(Ex. D ¶¶ 9, 17(b).) Mr. Cotton reiterated this on July 22, 2022. (Ex. E at 37.)


12
   The Carter Center, Restoring Confidence in American Elections, YouTube (Apr.
29, 2022, uploaded May 9, 2022),
https://youtu.be/PbB_c_PX8D8%20at%20approximately%2035:30, at 35:30
13
   Brown & Gardner, supra note 2.
                                        9
      Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 13 of 34




      Despite receiving many requests over a period of years for the discovery at

issue, (Ex. F), State Defendants have not produced a single document about the

Coffee County breach or their alleged, yearlong investigation into the incident.

      Despite claiming for months that State Defendants have an ongoing

investigation into the reported Coffee County breach since at least February of this

year, a July 20, 2022 email from the Secretary of State’s in-house lawyer, Ryan

Germany, indicates otherwise.14 (Ex. G at 2-3.) Just two days before defending

their investigative privilege claim, Mr. Germany emailed Anthony Rowell, a

lawyer at a firm representing Coffee County, stating: “We would like to come

down there and conduct some interviews to see if we can get a handle on what

happened if anything. I would like to [sic] people other than Misty Hampton at

the outset….” (Id.) Thus, just last week the Secretary’s in-house lawyer—not an

investigator with the investigative unit—suddenly sought to speak with witnesses

about “what happened” with the reported January 2021 Coffee County breach and

confirmed the inquiry is “at the outset,” not a months-long, ongoing investigation.

      Just days later, on July 25, 2022, State Defendants’ litigation counsel again

represented in a meet-and-confer that the investigation into improper access to


14
 Plaintiffs obtained the email just this week through an Open Records Request to
Coffee County—State Defendants have not produced it in discovery.
                                          10
      Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 14 of 34




Coffee County voting equipment began in the summer of 2021 with the

replacement of the EMS server and ICC and expanded to include Mr. Hall’s

allegations in February 2022. Mr. Germany’s email indicates otherwise.

II.   ARGUMENT
      The “law enforcement investigative privilege is a judicially created

privilege,” In re Polypropylene Carpet Antitrust Litig., 181 F.R.D. 680, 687 (N.D.

Ga. 1998) (emphasis added), that protects certain investigatory files from public

disclosure. Id. at 686-87. It is “based primarily on the harm to law enforcement

efforts which might arise from public disclosure of … investigatory files”; and it’s

qualified, not absolute. Id. at 688. Importantly, the investigative privilege applies

only to ongoing investigations. JTR Enters., LLC v. An Unknown Quantity of

Colombian Emeralds, 297 F.R.D. 522, 529 (S.D. Fla. 2013) (rejecting application

of privilege where claimant had “not provided an affidavit or any supporting

documentation to confirm that there is, in fact, an ongoing criminal investigation”).

      A.     State Defendants fail to establish an ongoing investigation—all
             evidence refutes their unsubstantiated claim

      State Defendants’ privilege claim fails at the start: there is no evidence of

any ongoing law enforcement investigation. Literally, none. And the only state

official to comment on the reported Coffee County breach stated in April 2022 that


                                         11
       Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 15 of 34




whatever investigation occurred reached its conclusion months ago.15 That came

from the Secretary’s Chief Operating Officer and eviscerates the privilege claim.16

      Mr. Germany’s July 20, 2022 email further belies the claims of an “ongoing

investigation.” (Ex. G.) He wrote to Coffee County’s counsel: “We would like to

come down there and conduct some interviews to see if we can get a handle on

what happened if anything. I would like to [sic] people other than Misty Hampton

at the outset….” (Id.) This too disposes of their privilege claim.

      First, it shows there’s been no real investigation (if any at all). Otherwise,

Mr. German could simply speak with the state investigators about what they have

learned in the purported yearlong investigation. Further, the Secretary’s lawyer—

not investigators responsible for investigating an election security breach—sent the

email. And he sent it not to Coffee County elections officials but to a lawyer for

the County. Thus, this is intended at best for the purposes of this litigation—not a

law enforcement investigation—to gain a preview of subpoenaed witnesses’

deposition testimony. In fact, State Defendants claim work product protection on

their privilege log with reference to this litigation. Alternatively, the email is an




15
  The Carter Center, supra note 12.
16
  State Defendants do not even address Mr. Sterling’s statement, much less try to
explain the contradiction with their representations to this Court—nor could they.
                                          12
       Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 16 of 34




effort to gin up an “ongoing investigation” to support the ruse needed for the

investigative privilege claim.17 Regardless of what Mr. Germany intended, his

email does not evidence an ongoing law enforcement investigation by the SEB or

the Secretary’s investigative unit—indeed, it confirms the opposite.

      Third, the email is not a follow-up in the midst of an ongoing investigation.

Rather, the email explicitly is “at the outset” of the Secretary’s inquiry.

      Fourth, it directly contradicts Mr. Sterling’s April 2022 public claim that the

investigation into “what happened” in Coffee County was finished and found that

the breach “didn’t happen.” Mr. Germany states that the Secretary’s Office wants

to “get a handle on what happened if anything.” Thus, the Secretary’s Office in

fact has reached no finding (consistent with there being no investigation).

      In short, State Defendants fail to meet their high burden to prove an ongoing

law enforcement investigation into the subject of the discovery sought. The only

evidence available directly refutes their claims.18 Thus, the Court should reject the


17
   The email also may be an effort to shield communications between State
Defendants and subpoenaed witnesses from discovery, including in depositions, by
claiming they are subject to the investigative privilege. That would be improper.
18
   State Defendants should be barred from offering any new allegations or evidence
for the first time on reply. Black Voters Matter Fund v. Raffensperger, 478 F.
Supp. 3d 1278, 1304 n.15 (N.D. Ga. 2020), aff’d sub nom. Black Voters Matter
Fund v. Sec’y of State for Ga., 11 F.4th 1227 (11th Cir. 2021) (“[T]he Court will
not consider new arguments raised for the first time in a Reply brief”).
                                          13
      Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 17 of 34




privilege here and order disclosure of all relevant documents and information,

including deposition testimony. See JTR Enters., LLC, 297 F.R.D. at 529.

      B.     State Defendants have not met their high burden to establish the
             additional requirements to invoke the investigative privilege
      For the law enforcement investigative privilege to apply, its proponent must

meet three specific requirements: (i) the head of the department having control

over the documents must raise a formal claim of privilege; (ii) the department head

must assert the privilege based on his or her actual personal review and

consideration of the documents; and (iii) and the claimant must make a detailed

specification of the information for which the privilege is claimed, with an

explanation why this particular information properly falls within the scope of the

privilege. Polypropylene Carpet, 181 F.R.D. at 687; see also Navarro v.

Applebee’s Int’l, Inc., 2010 WL 3745905, at *2 (M.D. Ga. Sept. 20, 2010) (“To

maintain a claim of privilege, the head of the department that has control over the

requested information must formally raise a claim of privilege. This request must

be accompanied by a detailed specification of the information for which the

privilege is claimed and an explanation why it properly falls within the scope of

the privilege.”). To determine if these requirements are met, courts look to

testimony from the relevant department head. Polypropylene Carpet, 181 F.R.D.

at 687-88 (analyzing three affidavits and declarations setting forth details
                                         14
       Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 18 of 34




pertaining to criminal antitrust violations and explaining why the privilege

applies). State Defendants have not even tried to meet these three requirements.19

      The SEB has the authority to investigate—or authorize the Secretary of State

to do so—the reported Coffee County breach and related circumstances (e.g., the

EMS server password change). Ga. Comp. R. & Regs. r. 183-1-12-.05(5).20 The

SEB Chair must invoke the investigative privilege unless the SEB authorized the

Secretary of State to conduct this particular investigation. There is no evidence

that the SEB authorized the Secretary of State to conduct the Coffee County server

breach investigation as part of SEB Case No. 2020-250 or otherwise. Neither is

there any evidence that the SEB Chair invoked the investigative privilege asserted

here (or that he is even aware of the invocation) or that he authorized the Secretary




19
   State Defendants should be barred from offering this evidence for the first time
on reply. Black Voters Matter Fund, 478 F. Supp. 3d at 1304 n.15.
20
   It shall be the duty of the State Election Board:
        (5) To investigate, or authorize the Secretary of State to investigate, when
        necessary or advisable the administration of primary and election laws and
        frauds and irregularities in primaries and elections and to report violations of
        the primary and election laws either to the Attorney General or the
        appropriate district attorney who shall be responsible for further
        investigation and prosecution. Nothing in this paragraph shall be so
        construed as to require any complaining party to request an investigation by
        the board before such party might proceed to seek any other remedy
        available to that party under this chapter or any other provision of law.
Ga. Comp. R. & Regs. r. 183-1-12-.05(5).
                                            15
       Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 19 of 34




of State to do so. And even if the Secretary of State had the requisite authorization

from the SEB, there is no evidence that he personally has invoked the investigative

privilege here either. Only State Defendants’ litigation lawyers have claimed the

privilege. And they did so well after Mr. Sterling stated whatever investigation

occurred was done.

      The second criterion requires the department head to assert the privilege

based on their personal consideration of the documents. There is no evidence that

the SEB Chair or the Secretary of State has personally considered any (much less

all) of the withheld documents and other information, or that they personally

decided to withhold all that because each is of the type that the privilege is

intended to protect. See In re City of N.Y., 607 F.3d 923, 944 (2d Cir. 2010).

There is no testimony from the SEB Chair or Secretary, or anyone else.

      The third criterion requires that the claimant make a detailed specification of

the information for which the privilege is claimed, with an explanation for why this

information properly falls within the scope of the privilege. State Defendants

provide no such evidence from anyone, much less the SEB Chair or Secretary of

State. Their lawyers simply make a sweeping claim that all documents and other

information any way related to the reported Coffee County breach are privileged—

including all facts—without specifically describing the expansive scope of detailed

                                          16
       Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 20 of 34




documents and information they’re withholding. And they never explain how all

those documents and information specifically fall within the narrow privilege.

      State Defendants’ so-called “privilege log” highlights the obvious

impropriety of their privilege claim. Tellingly, they did not even include the log

with their filing, contrary to this Court’s directive. (Dkt. 1424 at 18-19.) It offers

no details about the documents and does not explain how each falls within the

scope of the privilege. The descriptions are vague, generic, and conclusory. The

log lacks the information required by Rule 26(b)(5) to assess the privilege claim,

including the names and roles of authors, senders, and recipients as well as

creation, sent, and received dates. The privilege log does not reflect a single

investigator, lawyer, or state official of any kind. There is no indication whether

anyone outside the scope of the asserted privilege received, authored, or sent the

document. State Defendants’ counsel simply expects Plaintiffs and this Court to

blindly accept that each of the documents is actually privileged. But State

Defendants have a specific history of inaccurate claims in this case that renders

that approach especially unreliable and improper here. (Dkt. 1367 at 33-34 n.19.)

      The Court should reject the asserted privilege and order immediate

disclosure of the requested discovery. See Navarro, 2010 WL 3745905, at *2

(“[T]he State of Georgia has not complied with the requirements for raising this

                                          17
       Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 21 of 34




privilege. Therefore, the law enforcement investigatory privilege does not prevent

the Plaintiffs from receiving the requested documents.”).

      C.     Plaintiffs’ (and the public’s) strong interest in the discovery
             sought far outweighs any alleged harm to State Defendants
      The Court need not consider the balancing test here because State

Defendants fail to even get that far. See White v. City of Fort Lauderdale, 2009

WL 1298353, at *4 (S.D. Fla. May 8, 2009) (holding that, where defendants had

not satisfied their initial burden of showing the investigative privilege applied, the

court need not “reach the balancing test typically applied” in “investigation

privilege cases.”). But State Defendants fail that test too.

      Only after the privilege’s proponent establishes that the qualified

investigative privilege applies does the court apply a 10-factor balancing test

weighing a party’s need for the information against the government’s need to

withhold the documents.21 Tellingly, State Defendants do not even attempt to


21
  The ten factors are: “(1) the extent to which disclosure will thwart governmental
processes by discouraging citizens from giving the government information; (2)
the impact upon persons who have given information of having their identities
disclosed; (3) the degree to which governmental self-evaluation and consequent
program improvement will be chilled by disclosure; (4) whether the information
sought is factual data or evaluative summary; (5) whether the party seeking
discovery is an actual or potential defendant in any criminal proceeding either
pending or reasonably likely to follow from the incident in question; (6) whether
the police investigation has been completed; (7) whether any interdepartmental
disciplinary proceedings have arisen or may arise from the investigation; (8)
                                          18
      Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 22 of 34




satisfy these factors—nor could they. They should not be permitted to address

these factors for the first time on reply. They waived any right to do so.

      First, there is no basis for this Court to conclude that the discovery sought

will thwart governmental processes by discouraging citizens from giving the

government information. State Defendants provide no evidence of seeking any

information from witnesses for well over a year. And to the extent Mr. Germany’s

July 20, 2022 email could be construed as finally doing that, there is no evidence

that anyone he has asked to interview is refusing to do so, much less as a result of

Plaintiffs seeking discovery from State Defendants. Nor would that make any

sense given those same witnesses are going to produce documents and be deposed.

      Second, there is no asserted impact upon persons who have given

information of having their identities disclosed—nor could there be. There’s no

evidence anyone has given State Defendants any information as part of any law

enforcement investigation. And State Defendants themselves emphasize that

identities of witnesses are already known to Plaintiffs. (Dkt. 1427 at 5 (“Plaintiffs

have subpoenaed nearly a dozen individuals from whom they can obtain the



whether the plaintiff’s suit is non-frivolous and brought in good faith; (9) whether
the information sought is available through other discovery or from other sources;
and (10) the importance of the information sought to the plaintiff’s case.”
Polypropylene Carpet, 181 F.R.D. at 688.
                                           19
         Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 23 of 34




discovery they seek” in addition to open records requests to Coffee County).)

         Third, State Defendants do not—and could not—claim any chilling effect on

“governmental self-evaluation and consequent program improvement” from

disclosure. This factor is wholly inapplicable here.

         Fourth, the information Plaintiffs seek is factual. The investigative privilege

is not a wholesale shield that protects all facts from disclosure as State Defendants

contend. For example, documents and testimony about who improperly accessed

the Coffee County EMS server and any other voting equipment or data, when and

how they did so, who was present for it, who all has received any files or other data

taken, what all was done with the equipment or data at the time of the access and

afterward, and what the implications of those actions are for the security and

reliability of that equipment and Georgia’s interconnected voting system more

broadly are facts, not investigatory techniques or processes that could possibly be

protected from disclosure by the investigative privilege (if it applied here—it

doesn’t). And some facts regarding the Coffee County breach are already publicly

known.22 This includes what look to be Coffee County Cast Vote Records and

JSON files available on the internet dated around the same time as the reported


22
     Brown & Gardner, supra note 2; Butler, supra note 3; Pagliery, supra note 5.

                                           20
      Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 24 of 34




January 7, 2021 breach. (Ex. H.) Many more facts remain uncovered. This

includes data on the Coffee County ICC that CES seized and that Mr. Barnes

testified functioned fine, including the password. (Ex. A at 111-13.) State

Defendants have no basis for withholding the ICC data, including log files bearing

on the reported breach (e.g., showing ballot scans on or about January 7, 2021.)

      Fifth, no Plaintiff here “is an actual or potential defendant in any actual

criminal proceeding either pending or reasonably likely to follow from the incident

in question.” This factor is wholly inapplicable here.

      Sixth, “whether the police investigation has been completed” was addressed

above. There is no evidence that any police investigation ever actually occurred,

and to the extent it did, Mr. Sterling reported it ended months ago. And Mr.

Germany’s July 20, 2022 email indicates it never occurred at all.

      Seventh, there is no evidence or allegation that “any interdepartmental

disciplinary proceedings have arisen or may arise from the investigation.” This

factor is wholly inapplicable here.

      Eighth, this Court already has found that this “suit is non-frivolous and

brought in good faith.” (Dkt. 309 at 38-39; 375 at 1-2; 579 at 7, 130-31; 964 at

84.) The Eleventh Circuit did too. (Dkt. 338 at 8-10.)

      Ninth, the information sought is not available through other discovery or

                                         21
       Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 25 of 34




from other sources, as State Defendants wrongly claim. One witness already

refused to produce any documents or to be deposed, instead asserting the Fifth

Amendment protection. (Dkt. 1411 at 7-9.) At least one other key witness has

indicated they may assert the Fifth Amendment at their deposition because of State

Defendants’ baseless claim of an ongoing investigation. Only one witness has

produced any documents, and it was a very small production of documents largely

if not entirely already available. Another key witness has asked to be paid an

expert fee of hundreds of dollars an hour to produce documents and be deposed on

the facts of what occurred. Mr. Hall has successfully evaded subpoena service for

months at considerable expense to Plaintiffs.23 In short, if State Defendants really




23
   State Defendants’ argument that Plaintiffs cannot show a need for the discovery
sought because just one of the Plaintiffs had the recording of the call with Mr. Hall
since March 2021 fails. First, that has no bearing on whether State Defendants met
their burden to prove up the investigative privilege. Second, there should be no
prejudice to State Defendants since they supposedly had been investigating
improper access to Coffee County’s voting system for nearly a year when they
learned of that call—so the events described in the call should have come as no
surprise to them. Third, even if there were an undue delay in disclosing the call,
that should not prejudice the rights of the other Plaintiffs here to pursue this critical
discovery. Lastly, State Defendants’ hands are far from clean here. They
deliberately avoided disclosing the claimed investigation and related allegations in
response to every discovery request that called for that information, including
targeted interrogatories and deposition questions. In essence, their complaint is
that Plaintiffs stumbled upon this damning information by the sheer luck of Mr.
Hall’s call while State Defendants sought to keep that information from Plaintiffs.
                                          22
      Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 26 of 34




have conducted the thorough yearlong investigation they claim and have gathered

facts about what happened, disclosing those facts may substantially narrow the

scope of third-party discovery needed—which gets to the last point: the

investigation State Defendants conducted, if any, and whatever else they’ve done

in response to concerns about a serious breach of the voting system in Coffee

County is information only State Defendants can provide. If they did little or

nothing, as all indications are, that would be highly relevant information for the

merits of Plaintiffs’ claims and Defendants’ defenses. They do not get to hide that.

      Tenth, the importance of the information to Plaintiffs’ case is indisputable.

State Defendants’ only response to the numerous, undisputed, critical deficiencies

with Georgia’s voting system, per Dr. Halderman’s July 1, 2021 report and CISA’s

June 3, 2022 advisory, is that nobody could obtain access to that system to exploit

those vulnerabilities. This claim is wholly unsubstantiated—and it’s refuted by the

Coffee County breach, including replacing the EMS server and ICC, if the breach

happened. This undoubtedly is why State Defendants withheld any mention of it

throughout discovery in this case, why they stuck their heads in the sand about it

for over a year, and why they now refuse to provide any information at all about it.

      Further—and very importantly—replacing the EMS server and ICC cannot

possibly remediate the reported breach. There might be other voting equipment

                                         23
      Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 27 of 34




still in use in Coffee County that also was breached. Also, any compromise might

have affected additional components of Georgia’s broader voting system across the

state. But even if that hasn’t happened, the fact that individuals and organizations

have had the Dominion software for over a year and a half to discern the sort of

serious deficiencies Dr. Halderman and CISA identified with it means they—and

possibly others—now may have the means to exploit one or more of those

vulnerabilities in future elections in Georgia and elsewhere. This includes a voter

with a USB stick uploading vote-stealing malware to a BMD or associated printer

in a matter of minutes in a voting booth, just as Dr. Halderman developed and

successfully tested. The discovery sought is genuinely critical here.

      Further, even if some of the discovery sought were truly extremely sensitive,

the Court’s Protective Order would provide sufficient protections for that very

limited information. (Dkt. 477.) But no such sensitivity has been shown.

      Finally, State Defendants’ claim that Plaintiffs object to all electronic voting

systems is absurd and a distraction. (Dkt. 1427 at 4-5.) Plaintiffs and their experts

have identified an electronic voting system as the gold standard: using electronic

scanners to tabulate hand-marked paper ballots and using electronic BMDs for

those who need them, managed and controlled by reliable and secure EMS servers,

computers, online voter registration databases, and electronic PollPads with paper

                                         24
       Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 28 of 34




backups. As Plaintiffs have made clear, the only thing they seek to eliminate from

Georgia’s current voting system are the BMDs (and the associated printers that

then would be unnecessary) except for the very few voters who need them—

because they can’t be reasonably secured in Georgia (and especially not “perfectly

secured” as State Defendants theorize). (Id.) The reported Coffee County

breach—plus State Defendants’ abject failure to address it—highlights why BMDs

in Georgia’s woefully-unsecured voting system violate the constitution. State

Defendants’ attempt to paint Plaintiffs as some sort of radical Luddites fails. It

ignores that their own election cybersecurity experts both advised against

Georgia’s current voting system, with Dr. Wenke Lee objecting to BMDs entirely

just as Plaintiffs do and Dr. Michael Shamos objecting to the use of barcodes.

(Dkt. 313-1; Dkt. 615-3 at 2; Dkt. 554 at 57:13-21.)

III.   CONCLUSION

       State Defendants respond here just as with Logan Lamb’s findings,

Fortalice’s failed penetration testing, and the public availability of their GEMS

database: obstruction and misrepresentations. They’ve not responded with any

evidence required to prove up their law enforcement privilege claim, which is

belied by Mr. Sterling’s April 2022 statements and Mr. Germany’s July 20, 2022

email. The Court should reject the privilege claim and order the discovery.

                                         25
     Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 29 of 34




     Respectfully submitted this 28th day of July, 2022.

 /s/ David D. Cross                       /s/ Halsey G. Knapp, Jr.
David D. Cross (pro hac vice)            Halsey G. Knapp, Jr.
Mary G. Kaiser (pro hac vice)            GA Bar No. 425320
Veronica Ascarrunz (pro hac vice)        Adam M. Sparks
MORRISON & FOERSTER LLP                  GA Bar No. 341578
2100 L Street, NW, Suite 900             KREVOLIN & HORST, LLC
Washington, DC 20037                     1201 West Peachtree Street, NW
(202) 887-1500                           Suite 3250
                                         Atlanta, GA 30309
                                         (404) 888-9700
   Counsel for Plaintiffs Donna Curling, Donna Price & Jeffrey Schoenberg




                                       26
      Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 30 of 34




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                            Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.

                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing document has been prepared in accordance

with the font type and margin requirements of LR 5.1, using font type of Times New

Roman and a point size of 14.

                                             /s/ David D. Cross
                                            David D. Cross




                                       27
       Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 31 of 34




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 DONNA CURLING, ET AL.,
 Plaintiffs,
                                               Civil Action No. 1:17-CV-2989-AT
 v.

 BRAD RAFFENSPERGER, ET AL.,
 Defendants.

                          CERTIFICATE OF SERVICE

      I hereby certify that on July 28, 2022, a copy of the foregoing CURLING

PLAINTIFFS’         RESPONSE         TO     STATE        DEFENDANTS’         BRIEF

REGARDING LAW ENFORCEMENT INVESTIGATIVE PRIVILEGE was

electronically filed with the Clerk of Court using the CM/ECF system, which will

automatically send notification of such filing to all attorneys of record.

                                                /s/ David D. Cross
                                               David D. Cross




                                          28
      Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 32 of 34




                                APPENDIX A


                                      2020
December 2020           Former Coffee County Elections Supervisor, Misty
                        Hampton, posted a video on YouTube claiming to show
                        that Dominion’s voting equipment could be
                        manipulated. Coffee County’s EMS server password
                        was visible in the video.

                                   2021
On or about January 7, Misty Hampton reportedly allowed people into the
2021                   Coffee County election office to scan ballots and image
                       voting equipment.

February 25, 2021       Misty Hampton and her assistant Jil Riddlehoover
                        resigned.

At least until April    Coffee County elections office doors, including the door
2021                    into the election supervisor’s office and the door into
                        the EMS server room, were routinely left unlocked.

April 1, 2021           James Barnes, Misty Hampton’s replacement, began
                        work. The EMS server password was still visibly
                        posted.

                        James Barnes discovered a business card for Cyber
                        Ninjas.

                        James Barnes was told that none of Misty Hampton’s
                        emails were preserved.

Late April of 2021      James Barnes discovered that the EMS server password
                        did not work and called the Secretary of State’s Center
                        for Elections (CES).


                                     A-1
     Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 33 of 34




                      About a week later, CES visited Coffee County. They
                      tried the EMS server password; it didn’t work. That
                      same day CES replaced the EMS server and ICC.

May 2021              James Barnes received an email from Dominion
                      warning about third-party actors trying to get access to
                      EMS servers, and it mentioned Cyber Ninjas.

May 7, 2021           James Barnes emailed a copy of the Cyber Ninjas’s card
                      to Chris Harvey, Georgia’s former statewide Elections
                      Director.

May 11, 2021          Chris Harvey told James Barnes to check whether Cyber
                      Ninjas contacted anyone in the Coffee County elections
                      office or accessed any elections equipment.

May 11, 2021          Chris Harvey told Frances Watson, the head of the
                      Secretary’s investigations division, to contact Coffee
                      County officials about the situation involving Cyber
                      Ninjas.

                      James Barnes never heard anything further about the
                      EMS/ICC replacement or the investigation Chris
                      Harvey requested regarding Cyber Ninjas.

                                    2022
February 24, 2022     Recording of Scott Hall telephone call played at the
                      deposition of Gabriel Sterling, Chief Operating Officer
                      for the Secretary of State’s office.

April 1, 2022         State Defendants’ counsel represented that the Secretary
                      of State began investigating the Coffee County breach
                      in February of 2022.

April 29, 2022        Gabriel Sterling stated publicly that the Coffee County
                      investigation had concluded and that the breach “didn’t
                      happen.”
                                    A-2
     Case 1:17-cv-02989-AT Document 1438 Filed 07/28/22 Page 34 of 34




June 8, 2022          Benjamin Cotton of CyFIR declared that he had
                      forensically examined Coffee County’s and Fulton
                      County’s election systems.

July 20, 2022         The Secretary of State’s in-house lawyer stated that the
                      Secretary of State’s office wanted to conduct interviews
                      to “get a handle on what happened if anything [in
                      Coffee County]. I would like to [sic] people other than
                      Misty Hampton at the outset….”

July 25, 2022         State Defendants’ litigation counsel represented in a
                      meet-and-confer that the investigation into improper
                      access to Coffee County voting equipment began in the
                      summer of 2021.




                                   A-3
